           Case 2:14-cv-07249-CJC-FFM Document 422 Filed 12/17/20 Page 1 of 33 Page ID #:6925



               1 ALLEN MATKINS LECK GAMBLE
                     MALLORY & NATSIS LLP
               2 DAVID R. ZARO (BAR NO. 124334)
                   TIM C. HSU (BAR NO. 279208)
               3 865 South Figueroa Street, Suite 2800
                   Los Angeles, California 90017-2543
               4 Phone: (213) 622-5555
                   Fax: (213) 620-8816
           E-Mail:
               5 dzaro@allenmatkins.com
                   thsu@allenmatkins.com
               6
                   ALLEN MATKINS LECK GAMBLE
               7 MALLORY & NATSIS LLP
                   EDWARD G. FATES (BAR NO. 227809)
               8 One America Plaza
                   600 West Broadway, 27th Floor
               9 San Diego, California 92101-0903
                   Phone: (619) 233-1155
              10 Fax: (619) 233-1158
           E-Mail: tfates@allenmatkins.com
              11
                   Attorneys for Receiver
              12 AARON J. KUDLA
                    13                      UNITED STATES DISTRICT COURT
                    14                     CENTRAL DISTRICT OF CALIFORNIA
                    15
                    16 SECURITIES AND EXCHANGE             Case No. CV-14-07249-CJC-FFM
                       COMMISSION,
                    17                                     FINAL APPLICATION OF ALLEN
                                Plaintiff,                 MATKINS LECK GAMBLE
                    18                                     MALLORY & NATSIS LLP,
                           v.                              GENERAL COUNSEL TO THE
                    19                                     RECEIVER, FOR PAYMENT OF
                       NATIONWIDE AUTOMATED                FEES AND REIMBURSEMENT OF
                    20 SYSTEMS, INC.; JOEL GILLIS; and     EXPENSES
                       EDWARD WISHNER,
                    21                                     Date:      January 25, 2021
                                Defendants,                Time:      1:30 p.m.
                    22                                     Ctrm:      9B
                       OASIS STUDIO RENTALS, LLC;          Judge:     Hon. Cormac J. Carney
                    23 OASIS STUDIO RENTALS #2, LLC; and
                       OASIS STUDIO RENTALS #3, LLC,
                    24
                                Relief Defendants.
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   Mallory & Natsis LLP

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                      1                                   TABLE OF AUTHORITIES
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                      1               Allen Matkins Leck Gamble Mallory & Natsis LLP ("Allen Matkins"), general
                      2 counsel to Aaron J. Kudla ("Receiver"), the Court-appointed permanent receiver for
                      3 Defendant Nationwide Automated Systems, Inc. ("NASI"), Relief Defendants Oasis
                      4 Studio Rentals, LLC, Oasis Studio Rentals #2, LLC, and Oasis Studio
                      5 Rentals #3, LLC, and their subsidiaries and affiliates (collectively, "Receivership
                      6 Entities"), hereby submits this final application for approval and payment of fees and
                      7 reimbursement of expenses ("Application"). This Application is filed concurrently
                      8 with the Receiver's Motion to Conclude the Receivership ("Motion to Conclude"), as
                      9 well as the Receiver's final fee application.
                    10                Allen Matkins seeks approval of the total fees and costs incurred by the firm
                    11 for the receivership in the amount of $2,636,645.63, which includes the following:
                    12                •     Approval and payment of fees incurred during the seven-month period
                    13                      from April 1, 2020 through October 31, 2020 ("Final Application
                    14                      Period") of $22,136.40;
                    15                •     Final approval of the firm's 22 interim fee applications1 and of the
                    16                      $2,107,847.90 ($1,846,645.32 of fees and $261,202.58 of expenses)
                    17                      previously paid in connection with those applications;
                    18                •     Approval and payment of the 20% of fees held back from Allen
                    19                      Matkins' 22 interim fee applications in the total amount of $461,661.33
                    20                      ("Holdback Amount"); and
                    21                •     Approval of estimated fees and costs of up to $45,000 for remaining
                    22                      legal work to conclude the receivership, including work during
                    23                      November 2020 on the Receiver's Motion to Conclude and work to
                    24                      assist the Receiver with tasks remaining to close the receivership.
                    25
                    26      1
                        Allen Matkins' twenty-two interim fee applications, along with bills reflecting the
                    27 work performed during each period, can be found at Dkt. Nos. 66, 75, 83, 102, 121,
                    28 157, 175, 191, 207, 221, 230, 250, 264, 279, 301, 319, 335, 353, 336, 374, 389, 410
                       and are incorporated herein by this reference.
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                      1                                     I.     INTRODUCTION
                      2               This equity receivership involves a large and complex Ponzi scheme that is the
                      3 subject of the Complaint filed by the Securities and Exchange Commission
                      4 ("Commission"). The former receiver, William Hoffman of Trigild, Inc., was
                      5 appointed on a temporary basis on September 30, 2014, and on a permanent basis on
                      6 October 29, 2014. Due to Mr. Hoffman's retirement, he was fully discharged as
                      7 receiver on February 24, 2020, and Mr. Kudla (also of Trigild, Inc.) was appointed
                      8 successor receiver. Dkt. 383.
                      9               The appointment orders confer broad duties, responsibilities, and powers on
                    10 the Receiver which are designed to allow him to secure, preserve, and protect the
                    11 assets of the Receivership Entities, investigate and recover sums transferred to third
                    12 parties, conduct a forensic accounting and analysis of the Receivership Entities'
                    13 financial transactions, review and analyze investor claims, and maximize the amount
                    14 ultimately available for distribution to investors. The Receiver engaged Allen
                    15 Matkins to assist with legal issues facing the receivership estate. The Court
                    16 approved the Receiver's proposal to file reports and fee applications on a quarterly
                    17 basis. Dkt. No. 47. The Court also approved Allen Matkins' 22 prior interim fee
                    18 applications, authorizing payment of 80% of fees incurred and 100% of costs
                    19 incurred. Dkt. Nos. 72, 79, 95, 109, 137, 165, 181, 196, 210, 225, 238, 260, 270,
                    20 292, 315, 326, 346, 359, 371, 373, 400 and 414.
                    21                Allen Matkins has diligently assisted the former receiver and Receiver in
                    22 carrying out their Court-ordered duties over the last six years since the former
                    23 receiver’s appointment in September 2014. Administrative fees and costs for Allen
                    24 Matkins, if all fee applications are approved, amount to approximately
                    25 $2,636,645.63, or about 4.1% of the total recovery (including the amounts recovered
                    26 via the class settlement with City National Bank, for which the Receiver acted as
                    27 administrator).
                    28
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                      1               If the Motion to Conclude filed herewith and the fee applications are granted,
                      2 the proposed final distribution will be approximately $2,935,000; as such, investors
                      3 will have recovered approximately 45% of their investments under the distribution
                      4 plan approved by the Court on April 25, 2019 (the "Distribution Plan") (Dkt. 347)
                      5 and via the class settlement.
                      6               The former receiver and the Receiver, with Allen Matkins' assistance, have
                      7 completed their Court-ordered duties, including securing, preserving and protecting
                      8 the Receivership Entities' assets, completing a forensic accounting of the sources and
                      9 uses of funds of the Receivership Entities, pursuing and enforcing Clawback Claims
                    10 against insiders and others who received profits from the Ponzi scheme (including
                    11 68 separate actions on Clawback Claims), and completing a claims and distribution
                    12 process.
                    13                The former receiver, the Receiver and Allen Matkins have filed detailed
                    14 reports on activities on a quarterly basis throughout the case and have sought Court
                    15 authority and approval of all sales of assets, pursuits of litigation, as well as all
                    16 aspects of the investor claims process and distribution of receivership estate funds.
                    17 The Receiver and Allen Matkins have also filed interim fee applications on a
                    18 quarterly basis throughout the case, including a hold back of 20% of fees incurred
                    19 from each application; all of the interim fee applications have been granted.
                    20                With respect to projected fees and costs for remaining work, the legal work
                    21 starting on November 1, 2020 necessary to conclude the receivership includes
                    22 (1) assisting the Receiver in preparing the Motion to Conclude, including meet and
                    23 confer communications with counsel for the Securities and Exchange Commission
                    24 ("Commission"), (2) addressing any responses to the Motion to Conclude and
                    25 attending the hearing, if one is held, (3) advising the Receiver on making
                    26 administrative payments and final distributions to approved claimants and
                    27 establishing a reserve for remaining administrative payments; (4) advising the
                    28 Receiver on tax issues relating to winding down the receivership, dissolving the
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                      1 Receivership Entities and closing the receivership, (5) advising the Receiver on
                      2 remaining Clawback settlements and collection of outstanding installment payments,
                      3 and (6) otherwise assisting the Receiver in the discharge of his duties necessary to
                      4 close the receivership. The following is a conservative projection of fees and costs
                      5 associated with completing the remaining legal tasks:
                      6                           Fee Category                  Est.        Est. Amount
                                                                               Hours
                      7
                                      General Receivership/Tax                   14            $9,500
                      8               Issues/Dissolution of Entities
                                      Third Party Recoveries (Clawback)            10          $6,500
                      9
                                      Final Distributions/Reconciliation           12          $7,500
                    10                Final Accounting and Report/Motion           25         $16,000
                    11                to Conclude/Final Declaration/Final
                                      Discharge Order
                    12                Contingency                                   5          $2,500
                    13                Estimated Expenses                                       $3,000
                                      TOTAL                                                   $45,000
                    14
                    15                Accordingly, Allen Matkins requests final approval of its total fees and costs
                    16 for the receivership in the amount of $2,636,645.63, including final approval of the
                    17 $2,107,847.90 ($1,846,645.32 of fees and $261,202.58 of expenses) paid to the firm
                    18 on an interim basis, fees incurred during the Final Application Period of $22,136.40,
                    19 fees held back from its 22 previously-approved interim fee applications of
                    20 $461,661.33, and projected fees and costs to complete the legal tasks remaining to
                    21 conclude the receivership of up to $45,000.
                    22                Counsel for the Commission has reviewed this Application, along with the
                    23 Receiver's fee application filed concurrently herewith. The Commission does not
                    24 oppose the applications.
                    25                               II.   FINAL APPLICATION PERIOD
                    26                The fees incurred by Allen Matkins during the Final Application Period (a
                    27 seventh-month period) total $22,136.40 for a total of 36.70 hours worked. The work
                    28
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                      1 performed is described task-by-task on Exhibit A (by category) and Exhibit B
                      2 (broken down by date and timekeeper). The hours and fees are billed to the
                      3 following categories:
                      4
                      5                                 Category                   Hours         Amount
                      6                    General Receivership                     3.40         $2,039.40
                                           Reporting                               14.60         $8,897.40
                      7
                                           Operations & Assets                      7.20         $4,307.40
                      8                    Claims & Distributions                   1.80         $1,096.20
                      9                    Third Party Recoveries                   8.40         $5,000.40
                    10                     Employment/Fees                          1.30           $795.60
                                           Totals                                  36.70        $22,136.40
                    11
                    12                Allen Matkins has worked diligently and efficiently to assist the Receiver with
                    13 important legal issues facing the receivership estate. The firm has assisted the
                    14 Receiver in carrying out his Court-ordered duties and should be compensated on an
                    15 interim basis for its work.
                    16           III. SUMMARY OF TASKS PERFORMED INCURRED
                    17                A.      General Receivership
                    18                Allen Matkins' work in this category focused on assisting the Receiver on
                    19 issues relating to the distribution of the proceeds from the sale of Defendant Joel
                    20 Gillis' former residence through the restitution order issued in the related criminal
                    21 action. The reasonable and necessary fees for work in this category total $2,039.40.
                    22       B.    Reporting
                    23                Allen Matkins' work in this category during the Final Application Period
                    24 focused on completing the Receiver's Twenty-Third Interim Report and preparing the
                    25 Receiver's Twenty-Fourth Interim Report. Dkt. 401, 416. The reports provided
                    26 detailed summaries of the Receiver's activities during the first and second quarters of
                    27 2020, including receipts and disbursements for the receivership estate during those
                    28
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                      1 periods. Id. The reasonable and necessary fees for work in this category total
                      2 $8,897.40.
                      3               C.    Operations & Asset Sales
                      4               Allen Matkins' work in this category focused on advising the Receiver on the
                      5 potential sale of outstanding judgments obtained on Clawback claims, including
                      6 preparing the Receiver's motion for authority to sell outstanding judgments, which
                      7 was granted on August 3, 2020. Dkt. 407. The reasonable and necessary fees for
                      8 work in this category total $4,307.40.
                      9               D.    Claims and Distributions
                    10                Allen Matkins' work in this category focused on responding to investor
                    11 inquiries and advising the Receiver regarding the final distribution process. The
                    12 reasonable and necessary fees for work in this category total $1,096.20.
                    13                E.    Third Party Recoveries
                    14                Allen Matkins' work in this category focused mainly on settlements of
                    15 Clawback Claims and obtaining Court approval of such settlements. The Receiver's
                    16 motion for approval of two Clawback settlements was filed on April 24, 2020 and
                    17 approved on May 26, 2020. Dkt. 397, 403. As discussed above, the Receiver and
                    18 Allen Matkins' work on Clawback Claims has been extremely successful as more
                    19 than $40 million has been recovered in Clawback settlements to date. Allen Matkins
                    20 also advised the Receiver regarding residual funds from the CNB class settlement,
                    21 which funds will be distributed through the receivership. The reasonable and
                    22 necessary fees for work in this category total $5,000.40.
                    23                F.    Employment/Fees
                    24                Although fee applications are a necessary component of federal equity
                    25 receiverships, neither the Receiver nor his professionals charge for time spent
                    26 preparing their own detailed applications. Allen Matkins assisted in preparing the
                    27 Receiver's Twenty-Second Interim Fee Application and handled meet and confer
                    28 communications with counsel for the Commission. The fee applications were filed
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                      1 on August 18, 2020 (Dkt. 409, 410) and approved on September 8, 2020 (Dkt. 413,
                      2 414). The reasonable and necessary fees for work in this category total $795.60.
                      3            IV.     APPROVAL OF PRIOR INTERIM FEE APPLICATIONS AND
                      4                                  PAYMENT OF HOLDBACKS
                      5               Allen Matkins respectfully requests that the Court grant final approval of the
                      6 firm's twenty-two interim fee applications and that the Receiver be authorized to pay
                      7 the amounts held back from those twenty-two interim fee applications as follows:
                      8                FEE                  FEES               INTERIM 80%            20%
                      9            APPLICATION            INCURRED               PAYMENT           HOLDBACK
                    10            First                      $113,047.65            $90,438.12        $22,609.53
                    11            Second                       $67,638.75           $54,111.00        $13,527.75
                                  Third                        $51,826.50           $41,461.20        $10,365.30
                    12
                                  Fourth                     $120,108.60            $96,086.88        $24,021.72
                    13            Fifth                      $108,432.90            $86,746.32        $21,686.58
                    14            Sixth                      $136,535.40          $109,228.32         $27,307.08
                    15            Seventh                    $115,700.40            $92,560.32        $23,140.08
                                  Eighth                     $116,666.10            $93,332.88        $23,333.22
                    16
                                  Ninth                        $98,794.35           $79,035.48        $19,758.87
                    17            Tenth                      $134,453.70          $107,562.96         $26,890.74
                    18            Eleventh                   $152,366.40          $121,893.12         $30,473.28
                    19            Twelfth                    $182,921.40          $146,337.12         $36,584.28
                                  Thirteenth                 $223,920.90          $179,136.72         $44,784.18
                    20
                                  Fourteenth                 $214,990.65          $171,992.52         $42,998.13
                    21            Fifteenth                    119,087.55           $95,270.04        $23,817.51
                    22            Sixteenth                    $91,916.55           $73,533.24        $18,383.31
                    23            Seventeen                    $97,054.20           $77,643.36        $19,410.84
                                  Eighteenth                   $79,594.65           $63,675.72        $15,918.93
                    24
                                  Nineteenth                   $33,855.75           $27,084.60         $6,771.15
                    25            Twentieth                    $20,719.80           $16,575.84         $4,143.96
                    26            Twenty-First                  $5,999.40            $4,799.52         $1,199.88
                    27            Twenty-Second                $22,675.05           $18,140.04         $4,535.01
                                  TOTAL                     $2,308,306.65        $1,846,645.32       $461,661.33
                    28
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                      1                      V.     THE FEES AND COSTS ARE REASONABLE
                      2                                  AND SHOULD BE ALLOWED
                      3               "As a general rule, the expenses and fees of a receivership are a charge upon
                      4 the property administered." Gaskill v. Gordon, 27 F.3d 248, 251 (7th Cir. 1994).
                      5 These expenses include the fees and expenses of the Receiver and his professionals,
                      6 including Allen Matkins. Decisions regarding the timing and amount of an award of
                      7 fees and costs to the Receiver and his Professionals are committed to the sound
                      8 discretion of the Court. See SEC v. Elliot, 953 F.2d 1560, 1577 (11th Cir. 1992).
                      9               In allowing fees, a court should consider "the time, labor and skill required,
                    10 but not necessarily that actually expended, in the proper performance of the duties
                    11 imposed by the court upon the receiver[], the fair value of such time, labor and skill
                    12 measured by conservative business standards, the degree of activity, integrity and
                    13 dispatch with which the work is conducted and the result obtained." United States v.
                    14 Code Prods. Corp., 362 F. 2d 669, 673 (3d Cir. 1966) (internal quotation marks
                    15 omitted). In practical terms, receiver and professional compensation thus ultimately
                    16 rests upon the result of an equitable, multi-factor balancing test involving the
                    17 "economy of administration, the burden that the estate may be able to bear, the
                    18 amount of time required, although not necessarily expended, and the overall value of
                    19 the services to the estate." In re Imperial 400 Nat'l, Inc., 432 F.2d 232, 237 (3d Cir.
                    20 1970). Regardless of how this balancing test is formulated, no single factor is
                    21 determinative and "a reasonable fee is based [upon] all circumstances surrounding
                    22 the receivership." SEC v. W.L. Moody & Co., Bankers (Unincorporated),
                    23 374 F.Supp. 465, 480 (S.D. Tex. 1974).
                    24                Allen Matkins has submitted twenty-two detailed interim fee applications, as
                    25 well as this application, which describe the nature of the services rendered, and the
                    26 identity and billing rate of each individual performing each task. Throughout the
                    27 receivership, Allen Matkins has endeavored to staff matters as efficiently as possible
                    28 while remaining cognizant of the complexity of issues presented. All of Allen
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                      1 Matkins' requests for fees have been based on the firm's customary billing rates
                      2 charged for comparable services provided in other matters, less a 10% discount. In
                      3 addition, over the course of the receivership, Allen Matkins has written off
                      4 $41,931.00 in fees in recognition of the need to conserve receivership assts.
                      5               The work performed by Allen Matkins was essential to carrying out the
                      6 Receiver's Court-ordered duties. The Receiver and Allen Matkins have worked
                      7 diligently since the Receiver's appointment to (a) investigate, secure, and protect the
                      8 assets of the receivership estate, (b) preserve and maintain the limited revenue stream
                      9 from the ATM business, (c) investigate transfers to third parties and potential claims
                    10 related thereto, (d) pursue claims to recover fraudulent transfers and other improper
                    11 transfers to third parties, (e) inform the Court and the parties of the Receiver
                    12 activities, (f) make recommendations for the efficient and effective administration of
                    13 the receivership, and (g) efficiently disseminate information to investors and respond
                    14 to frequently asked questions.
                    15                                        VI.   CONCLUSION
                    16                Allen Matkins therefore respectfully requests this Court enter an Order:
                    17                1.    Approving Allen Matkins' fees and costs for the receivership in the
                    18 amount of $2,636,645.63, including:
                    19                      a.    Approval and authority to pay fees of $22,136.40 for the Final
                    20 Application Period;
                    21                      b.    Approval, on a final basis of the $2,107,847.90 ($1,846,645.32 of
                    22 fees and $261,202.58 of expenses) paid to Allen Matkins pursuant to its 22 interim
                    23 fee applications;
                    24                      c.    Approval and authority to pay fees held back from Allen Matkins’
                    25 22 interim fee applications in the amount of $461,661.33.
                    26                      d.    Approval and authority to pay projected fees and costs from the
                    27 reserve in an amount up to $45,000 to complete the legal tasks remaining to conclude
                    28 the receivership; and
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                      1               2.   For such other and further relief as the Court deems appropriate.
                      2
                      3 Dated: December 17, 2020                        ALLEN MATKINS LECK GAMBLE
                                                                         MALLORY & NATSIS LLP
                      4
                                                                        By:        /s/ Edward G. Fates
                      5                                                       EDWARD G. FATES
                      6                                                       Attorneys for Receiver
                                                                              AARON J. KUDLA
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                   EXHIBIT A
                                                            Exhibit A, Page 14
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}
 11/13/20 13:01:37 PROFORMA STATEMENT FOR MATTER 374464.00002 (William J. Hoffman, Receiver for NASI) (General Receivership)


                                                                   Preliminary Billing Form
Billing Atty: 001665 - Fates, Edward      Matter #: 374464.00002                    Client Name: William J. Hoffman, Receiver for NASI
(Ted)
Date of Last Billing: 09/22/20                                                     Matter Name: General Receivership
Proforma Number: 1062210
Client/Matter Joint Group # 374464-1

Fees for Matter 374464.00002.(General Receivership)

Trans
Date        Index       Description of Service Rendered                Timekeeper                Hours         Fees          Sum              Circle Action
04/03/20    8055524     Review order reassigning case and advise       Fates, Edward (Ted)        0.20        118.80       118.80        WO    HD     TR
                        Receiver re: same

04/06/20    8056257     Advise Receiver re: second order               Fates, Edward (Ted)         0.30       178.20       297.00        WO   HD      TR
                        transferring case

04/17/20    8068494     Discuss issues re: disbursement of net sale    Fates, Edward (Ted)         0.30       178.20       475.20        WO   HD      TR
                        proceeds from J. Gillis property through
                        criminal restitution process with Receiver

04/20/20    8068877     Analyze and advise Receiver re: status         Fates, Edward (Ted)         0.20       118.80       594.00        WO   HD      TR
                        report filed by SEC

06/17/20    8123541     Discuss steps for wrapping up receivership     Fates, Edward (Ted)         0.60       356.40       950.40        WO   HD      TR
                        and AUSA request for investor claim
                        information with Receiver

06/18/20    8124415     Calls with Receiver and AUSA re: request       Fates, Edward (Ted)         0.70       415.80      1,366.20       WO   HD      TR
                        for investor information for criminal
                        restitution process

07/15/20    8147187     Discuss timing and steps remaining to          Fates, Edward (Ted)         0.20       122.40      1,488.60       WO   HD      TR
                        conclude receivership with Receiver



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11/13/20 13:01:37 PROFORMA STATEMENT FOR MATTER 374464.00002 (William J. Hoffman, Receiver for NASI) (General Receivership)


 Fees for Matter 374464.00002.(General Receivership)

 Trans
 Date       Index       Description of Service Rendered                Timekeeper            Hours        Fees       Sum            Circle Action

 08/28/20   8188577     Discuss USAO restitution order/claims          Fates, Edward (Ted)    0.20       122.40   1,611.00     WO   HD      TR
                        reconciliation issues with Receiver

 09/14/20   8204082     Advise Receiver on requests from USAO          Fates, Edward (Ted)    0.40       244.80   1,855.80     WO   HD      TR
                        relating to criminal restitution issues

 10/02/20   8224856     Communications with Receiver re: wind          Fates, Edward (Ted)    0.30       183.60   2,039.40     WO   HD      TR
                        down steps and process


 Proforma Summary
 Timekeeper
 Number                Timekeeper                                              Hours                   Rate        Amounts
 001665                Fates, Edward (Ted)                                      2.30                 594.00         1,366.20
 001665                Fates, Edward (Ted)                                      1.10                 612.00           673.20
                                                                                3.40                               $2,039.40
 Subtotal Fees                                                                                                     $2,039.40
 Discount                                                                                                               0.00
 Total Fees                                                                                                         2,039.40
 Total Disbursements                                                                                                    0.00

 Attorney Billing Instructions

 (   }   BILL ALL                                     (   }     Hold
 (   }   BILL FEES ONLY                               (   }     Write Off
 (   }   BILL COST ONLY                               (   }     Transfer All

 Billing Instructions
 expires 6/30/2021: 10% OFF STD RATES (AUTOMATIC); NO TEXT EDITING

 Account Summary – As Of 11/13/20

                                 Fiscal YTD                   Calendar YTD                                           LTD


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11/13/20 13:01:37 PROFORMA STATEMENT FOR MATTER 374464.00002 (William J. Hoffman, Receiver for NASI) (General Receivership)


                         Total          Fees        Disb.        Total       Fees       Disb.         Total         Fees      Disbursements
     Worked          6,052.86         673.20     5,379.66   20,229.14    8,631.45   11,597.69     2,039.40      2,039.40               0.00
 Unbilled Adj            0.00           0.00         0.00        0.00        0.00        0.00        19.71          3.87              15.84
        Billed      18,189.74       6,592.05    11,597.69   21,243.14    8,077.05   13,166.09    69,052.32     69,052.32         215,349.82
   Collected        18,189.74       6,592.05    11,597.69   21,243.14    8,077.05   13,166.09   284,402.14     69,052.32         215,349.82
 AR Write Off            0.00           0.00         0.00        0.00        0.00        0.00         0.00          0.00               0.00

                        Total          Fees        Costs
         WIP         2,109.72       2,039.40       70.32
     Balance
 AR Balance              0.00            0.00        0.00
     Unalloc             0.00
    Payment
 Client Trust            0.00
     Balance

 Billing Address
 William J. Hoffman, Receiver for NASI
 Trigild Inc
 9339 Genesse Ave., Suite 130
 San Diego, CA 92121




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}
 11/13/20 13:01:39 PROFORMA STATEMENT FOR MATTER 374464.00004 (William J. Hoffman, Receiver for NASI) (Reporting)


                                                                   Preliminary Billing Form
Billing Atty: 001665 - Fates, Edward      Matter #: 374464.00004                    Client Name: William J. Hoffman, Receiver for NASI
(Ted)
Date of Last Billing: 09/22/20                                                      Matter Name: Reporting
Proforma Number: 1062210
Client/Matter Joint Group # 374464-1

Fees for Matter 374464.00004.(Reporting)

Trans
Date        Index       Description of Service Rendered                 Timekeeper               Hours          Fees          Sum             Circle Action
05/06/20    8086859     Work on Receiver's 23rd interim report (1.4)    Fates, Edward (Ted)       2.10       1,247.40     1,247.40       WO    HD     TR
                        discuss same with A. Kudla (.4) meet and
                        confer communications with SEC counsel
                        re: same (.1) finalize report for filing (.2)

08/27/20    8187789     Work on Receiver's 24th interim report (1.6)    Fates, Edward (Ted)        2.20      1,346.40     2,593.80       WO   HD      TR
                        discuss same with Receiver (.6)

08/28/20    8188161     Work on motion to conclude                      Fates, Edward (Ted)        0.30       183.60      2,777.40       WO   HD      TR
                        receivership/final report and accounting

08/31/20    8190791     Communications with Receiver re: revised        Fates, Edward (Ted)        0.20       122.40      2,899.80       WO   HD      TR
                        24th interim report (.1) meet and confer
                        communications re: same with SEC counsel
                        (.1)

09/01/20    8195298     Work on Receiver's final report and motion      Fates, Edward (Ted)        1.90      1,162.80     4,062.60       WO   HD      TR
                        to conclude receivership

09/02/20    8196272     Work on Receiver's motion to conclude the       Fates, Edward (Ted)        1.80      1,101.60     5,164.20       WO   HD      TR
                        receivership, including final report (1.6)
                        discuss same with Receiver (.2)



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11/13/20 13:01:39 PROFORMA STATEMENT FOR MATTER 374464.00004 (William J. Hoffman, Receiver for NASI) (Reporting)


 Fees for Matter 374464.00004.(Reporting)

 Trans
 Date       Index      Description of Service Rendered                 Timekeeper            Hours    Fees         Sum        Circle Action

 09/08/20   8198967    Meet and confer communications with SEC         Fates, Edward (Ted)    0.10    61.20   5,225.40   WO   HD      TR
                       counsel re: Receiver's 24th interim report

 09/09/20   8200338    Communications with Receiver re: final          Fates, Edward (Ted)    0.30   183.60   5,409.00   WO   HD      TR
                       report/motion to conclude and final fee
                       applications

 09/10/20   8201602    Review order re: joint status report and        Fates, Edward (Ted)    0.30   183.60   5,592.60   WO   HD      TR
                       advise Receiver re: same

 09/14/20   8203824    Communications with SEC counsel and             Fates, Edward (Ted)    0.30   183.60   5,776.20   WO   HD      TR
                       Receiver re: Receiver's interim report and
                       order requiring joint status report

 09/15/20   8204950    Communications with Receiver and SEC            Fates, Edward (Ted)    0.60   367.20   6,143.40   WO   HD      TR
                       counsel re: 24th interim report and
                       questions relating to matters relating to
                       closing of receivership (.4) finalize report
                       (.2)

 09/16/20   8206084    Analyze issues re: overall case status and      Fates, Edward (Ted)    0.30   183.60   6,327.00   WO   HD      TR
                       order re: joint status report (.2) meet and
                       confer with SEC counsel re: same (.1)

 09/17/20   8207451    Communications with Receiver and SEC            Fates, Edward (Ted)    1.10   673.20   7,000.20   WO   HD      TR
                       counsel re: draft joint status report per
                       Court's minute order (.4) prepare draft joint
                       status report (.7)

 09/18/20   8208168    Communications with SEC counsel re: draft       Fates, Edward (Ted)    0.30   183.60   7,183.80   WO   HD      TR
                       Joint Status Report (.2) finalize same (.1)

 09/28/20   8215833    Communications with Receiver re: final          Fates, Edward (Ted)    0.30   183.60   7,367.40   WO   HD      TR
                       report and motion to conclude receivership


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                                                           #:6944
11/13/20 13:01:39 PROFORMA STATEMENT FOR MATTER 374464.00004 (William J. Hoffman, Receiver for NASI) (Reporting)


 Fees for Matter 374464.00004.(Reporting)

 Trans
 Date       Index       Description of Service Rendered                  Timekeeper             Hours         Fees            Sum             Circle Action
 10/05/20   8225251     Work on Receiver's final report and motion       Fates, Edward (Ted)     0.90        550.80       7,918.20      WO     HD     TR
                        to conclude receivership (.6) discuss same
                        with Receiver (.3)

 10/12/20   8233333     Calls/emails with Receiver to discuss            Fates, Edward (Ted)      1.60       979.20       8,897.40      WO     HD     TR
                        motion to conclude receivership/final report
                        and advise on steps for final distributions
                        and closing receivership


 Proforma Summary
 Timekeeper
 Number                Timekeeper                                                Hours                     Rate            Amounts
 001665                Fates, Edward (Ted)                                         2.10                  594.00             1,247.40
 001665                Fates, Edward (Ted)                                        12.50                  612.00             7,650.00
                                                                                  14.60                                    $8,897.40
 Subtotal Fees                                                                                                             $8,897.40
 Discount                                                                                                                       0.00
 Total Fees                                                                                                                 8,897.40
 Total Disbursements                                                                                                            0.00

 Attorney Billing Instructions

 (   }   BILL ALL                                       (   }    Hold
 (   }   BILL FEES ONLY                                 (   }    Write Off
 (   }   BILL COST ONLY                                 (   }    Transfer All

 Billing Instructions
 expires 6/30/2021: 10% OFF STD RATES (AUTOMATIC); NO TEXT EDITING

 Account Summary – As Of 11/13/20

                                 Fiscal YTD                     Calendar YTD                                                 LTD

                        Total           Fees           Disb.           Total        Fees       Disb.              Total          Fees        Disbursements


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11/13/20 13:01:39 PROFORMA STATEMENT FOR MATTER 374464.00004 (William J. Hoffman, Receiver for NASI) (Reporting)


     Worked          8,874.00       8,874.00     0.00   12,891.15    12,891.15       0.00        8,897.40       8,897.40            0.00
 Unbilled Adj            0.00           0.00     0.00        0.00         0.00       0.00            0.00           0.00            0.00
        Billed       2,769.75       2,769.75     0.00    6,571.35     6,571.35       0.00       47,095.65      47,095.65       45,852.76
   Collected         2,769.75       2,769.75     0.00    6,571.35     6,571.35       0.00       92,948.41      47,095.65       45,852.76
 AR Write Off            0.00           0.00     0.00        0.00         0.00       0.00            0.00           0.00            0.00

                        Total          Fees     Costs
         WIP        10,121.40      10,121.40     0.00
     Balance
 AR Balance              0.00            0.00    0.00
     Unalloc             0.00
    Payment
 Client Trust            0.00
     Balance

 Billing Address
 William J. Hoffman, Receiver for NASI
 Trigild Inc
 9339 Genesse Ave., Suite 130
 San Diego, CA 92121




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}
 11/13/20 13:01:40 PROFORMA STATEMENT FOR MATTER 374464.00005 (William J. Hoffman, Receiver for NASI) (Operations & Asset Sales)


                                                                     Preliminary Billing Form
Billing Atty: 001665 - Fates, Edward      Matter #: 374464.00005                      Client Name: William J. Hoffman, Receiver for NASI
(Ted)
Date of Last Billing: 09/22/20                                                       Matter Name: Operations & Asset Sales
Proforma Number: 1062210
Client/Matter Joint Group # 374464-1

Fees for Matter 374464.00005.(Operations & Asset Sales)

Trans
Date        Index       Description of Service Rendered                  Timekeeper                Hours         Fees           Sum             Circle Action
05/13/20    8092838     Call with Receiver to discuss sale process       Fates, Edward (Ted)        2.50      1,485.00      1,485.00       WO    HD     TR
                        for outstanding judgments and remaining
                        due diligence to be gathered regarding
                        same (.7) work on sale motion (1.8)

05/27/20    8105096     Analyze issues re: approach to potential         Fates, Edward (Ted)         1.10       653.40      2,138.40       WO   HD      TR
                        judgment sales, advise Receiver re: same

06/01/20    8110947     Work on confidentiality agreement for            Fates, Edward (Ted)         1.10       653.40      2,791.80       WO   HD      TR
                        prospective sale(s) of outstanding
                        judgments (.8) discuss same with Receiver
                        (.3)

06/17/20    8123540     Discuss strategy and approach to sale of         Fates, Edward (Ted)         0.40       237.60      3,029.40       WO   HD      TR
                        remaining judgments and motion re: same
                        with Receiver

06/18/20    8124385     Revisions to motion for authority to sell        Fates, Edward (Ted)         0.40       237.60      3,267.00       WO   HD      TR
                        remaining clawback judgments (.3) meet
                        and confer communications with SEC
                        counsel re: same (.1)




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11/13/20 13:01:40 PROFORMA STATEMENT FOR MATTER 374464.00005 (William J. Hoffman, Receiver for NASI) (Operations & Asset Sales)


 Fees for Matter 374464.00005.(Operations & Asset Sales)

 Trans
 Date       Index       Description of Service Rendered               Timekeeper            Hours        Fees        Sum           Circle Action
 07/02/20   8139047     Meet and confer communications with SEC       Fates, Edward (Ted)    0.10        61.20   3,328.20     WO    HD     TR
                        counsel re: motion for authority to sell
                        outstanding clawback judgments

 07/10/20   8144232     Meet and confer with SEC counsel re:          Fates, Edward (Ted)    0.10        61.20   3,389.40     WO   HD      TR
                        motion for authority to sell remaining
                        clawback judgments

 07/13/20   8145520     Work on Receiver declaration and proposed     Fates, Edward (Ted)    0.80       489.60   3,879.00     WO   HD      TR
                        order for motion to sell remaining clawback
                        judgments

 08/04/20   8167864     Review order authorizing sale of              Fates, Edward (Ted)    0.20       122.40   4,001.40     WO   HD      TR
                        outstanding clawback judgments and
                        advise Receiver re: same

 10/05/20   8225472     Advise regarding Receiver on sale of          Fates, Edward (Ted)    0.30       183.60   4,185.00     WO   HD      TR
                        remaining clawback judgments

 10/13/20   8232665     Discuss issues re: sale of remaining          Fates, Edward (Ted)    0.20       122.40   4,307.40     WO   HD      TR
                        clawback judgments with Receiver


 Proforma Summary
 Timekeeper
 Number                Timekeeper                                             Hours                   Rate        Amounts
 001665                Fates, Edward (Ted)                                     5.50                 594.00         3,267.00
 001665                Fates, Edward (Ted)                                     1.70                 612.00         1,040.40
                                                                               7.20                               $4,307.40
 Subtotal Fees                                                                                                    $4,307.40
 Discount                                                                                                              0.00
 Total Fees                                                                                                        4,307.40
 Total Disbursements                                                                                                   0.00

 Attorney Billing Instructions


                                                                                                                                          Page 9 of 34


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11/13/20 13:01:40 PROFORMA STATEMENT FOR MATTER 374464.00005 (William J. Hoffman, Receiver for NASI) (Operations & Asset Sales)



 (   }   BILL ALL                                 (   }    Hold
 (   }   BILL FEES ONLY                           (   }    Write Off
 (   }   BILL COST ONLY                           (   }    Transfer All

 Billing Instructions
 expires 6/30/2021: 10% OFF STD RATES (AUTOMATIC); NO TEXT EDITING

 Account Summary – As Of 11/13/20

                                 Fiscal YTD               Calendar YTD                                           LTD

                         Total           Fees    Disb.          Total         Fees    Disb.           Total          Fees     Disbursements
     Worked          1,958.40        1,958.40    0.00       5,463.00      5,463.00    0.00        4,307.40       4,307.40              0.00
 Unbilled Adj            0.00            0.00    0.00           0.00          0.00    0.00            0.00           0.00              0.00
        Billed         237.60          237.60    0.00       1,069.20      1,069.20    0.00       13,574.70      13,574.70              0.00
   Collected           237.60          237.60    0.00       1,069.20      1,069.20    0.00       13,574.70      13,574.70              0.00
 AR Write Off            0.00            0.00    0.00           0.00          0.00    0.00            0.00           0.00              0.00

                        Total           Fees    Costs
         WIP         5,225.40        5,225.40    0.00
     Balance
 AR Balance              0.00            0.00    0.00
     Unalloc             0.00
    Payment
 Client Trust            0.00
     Balance

 Billing Address
 William J. Hoffman, Receiver for NASI
 Trigild Inc
 9339 Genesse Ave., Suite 130
 San Diego, CA 92121




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                                                           #:6949




}
 11/13/20 13:01:41 PROFORMA STATEMENT FOR MATTER 374464.00006 (William J. Hoffman, Receiver for NASI) (Claims & Distributions)


                                                                       Preliminary Billing Form
Billing Atty: 001665 - Fates, Edward       Matter #: 374464.00006                       Client Name: William J. Hoffman, Receiver for NASI
(Ted)
Date of Last Billing: 09/22/20                                                         Matter Name: Claims & Distributions
Proforma Number: 1062210
Client/Matter Joint Group # 374464-1

Fees for Matter 374464.00006.(Claims & Distributions)

Trans
Date        Index       Description of Service Rendered                    Timekeeper                Hours         Fees          Sum              Circle Action
05/01/20    8084053     Respond to investor inquiries regarding            Fates, Edward (Ted)        0.30        178.20       178.20        WO    HD     TR
                        claims and final distributions

07/31/20    8161751     Discuss plan/strategy for final distribution       Fates, Edward (Ted)         0.70       428.40       606.60        WO   HD      TR
                        process and motion to conclude
                        receivership with Receiver

08/20/20    8181168     Respond to investor inquiries re: claims and       Fates, Edward (Ted)         0.30       183.60       790.20        WO   HD      TR
                        distributions

09/22/20    8211297     Respond to direct inquiries from investor re:      Fates, Edward (Ted)         0.20       122.40       912.60        WO   HD      TR
                        distributions

10/13/20    8232668     Respond to investor inquiries re: final            Fates, Edward (Ted)         0.30       183.60      1,096.20       WO   HD      TR
                        distributions


Proforma Summary
Timekeeper
Number                 Timekeeper                                                  Hours                        Rate            Amounts
001665                 Fates, Edward (Ted)                                          0.30                      594.00              178.20
001665                 Fates, Edward (Ted)                                          1.50                      612.00              918.00



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11/13/20 13:01:41 PROFORMA STATEMENT FOR MATTER 374464.00006 (William J. Hoffman, Receiver for NASI) (Claims & Distributions)


 Proforma Summary
 Timekeeper
 Number                  Timekeeper                                        Hours                 Rate           Amounts
                                                                            1.80                                $1,096.20
 Subtotal Fees                                                                                                  $1,096.20
 Discount                                                                                                            0.00
 Total Fees                                                                                                      1,096.20
 Total Disbursements                                                                                                 0.00

 Attorney Billing Instructions

 (   }   BILL ALL                                  (   }    Hold
 (   }   BILL FEES ONLY                            (   }    Write Off
 (   }   BILL COST ONLY                            (   }    Transfer All

 Billing Instructions
 expires 6/30/2021: 10% OFF STD RATES (AUTOMATIC); NO TEXT EDITING

 Account Summary – As Of 11/13/20

                                   Fiscal YTD              Calendar YTD                                           LTD

                           Total           Fees   Disb.          Total         Fees   Disb.           Total           Fees      Disbursements
     Worked              918.00          918.00   0.00       4,957.20      4,957.20   0.00        1,096.20        1,096.20               0.00
 Unbilled Adj              0.00            0.00   0.00           0.00          0.00   0.00            0.00            0.00               0.00
        Billed         3,861.00        3,861.00   0.00       7,543.80      7,543.80   0.00      112,988.70      112,988.70               0.00
   Collected           3,861.00        3,861.00   0.00       7,543.80      7,543.80   0.00      112,988.70      112,988.70               0.00
 AR Write Off              0.00            0.00   0.00           0.00          0.00   0.00            0.00            0.00               0.00

                          Total           Fees    Costs
         WIP           1,096.20        1,096.20    0.00
     Balance
 AR Balance                0.00            0.00    0.00
     Unalloc               0.00
    Payment
 Client Trust              0.00
     Balance

 Billing Address


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                                                           #:6951
11/13/20 13:01:41 PROFORMA STATEMENT FOR MATTER 374464.00006 (William J. Hoffman, Receiver for NASI) (Claims & Distributions)


 William J. Hoffman, Receiver for NASI
 Trigild Inc
 9339 Genesse Ave., Suite 130
 San Diego, CA 92121




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}
 11/13/20 13:01:42 PROFORMA STATEMENT FOR MATTER 374464.00007 (William J. Hoffman, Receiver for NASI) (Third Party Recoveries)


                                                                      Preliminary Billing Form
Billing Atty: 001665 - Fates, Edward      Matter #: 374464.00007                       Client Name: William J. Hoffman, Receiver for NASI
(Ted)
Date of Last Billing: 09/22/20                                                        Matter Name: Third Party Recoveries
Proforma Number: 1062210
Client/Matter Joint Group # 374464-1

Fees for Matter 374464.00007.(Third Party Recoveries)

Trans
Date        Index       Description of Service Rendered                   Timekeeper                Hours         Fees          Sum              Circle Action
04/06/20    8056582     Revisions to Receiver declaration re:             Fates, Edward (Ted)        0.80        475.20       475.20        WO    HD     TR
                        residual class settlement funds and
                        distribution of same through receivership
                        (.6) discuss same with Receiver (.2)

04/07/20    8057457     Advise Receiver re: motion to transfer            Fates, Edward (Ted)         1.10       653.40      1,128.60       WO   HD      TR
                        residual class settlement funds to
                        receivership, revisions to draft motion

04/17/20    8066969     Discuss motion to approve multiple                Fates, Edward (Ted)         0.50       297.00      1,425.60       WO   HD      TR
                        clawback settlements and enforcement
                        steps regarding outstanding judgments with
                        Receiver

04/21/20    8069605     Communications with Receiver re: motion           Fates, Edward (Ted)         0.20       118.80      1,544.40       WO   HD      TR
                        to transfer residual class settlement funds
                        to receivership for distribution

04/21/20    8069959     Discuss motion to approve two remaining           Fates, Edward (Ted)         0.50       297.00      1,841.40       WO   HD      TR
                        clawback settlements with Receiver (.3)
                        initial work on motion (.2)




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                                                          #:6953
11/13/20 13:01:42 PROFORMA STATEMENT FOR MATTER 374464.00007 (William J. Hoffman, Receiver for NASI) (Third Party Recoveries)


 Fees for Matter 374464.00007.(Third Party Recoveries)

 Trans
 Date       Index      Description of Service Rendered               Timekeeper            Hours        Fees        Sum           Circle Action
 04/22/20   8071098    Prepare motion for approval of remaining      Fates, Edward (Ted)    2.30     1,366.20   3,207.60     WO    HD     TR
                       clawback settlements (2.1) discuss same
                       with Receiver (.2)

 04/23/20   8072715    Discuss revisions to motion for approval of   Fates, Edward (Ted)    1.30       772.20   3,979.80     WO   HD      TR
                       clawback settlements with Receiver (.2)
                       work on revisions (.3) meet and confer
                       communications with SEC counsel re:
                       motion (.1) work on Receiver declaration in
                       support of motion (.5) discuss same with
                       Receiver (.2)

 04/24/20   8073928    Revisions to letters re: enforcement of       Fates, Edward (Ted)    0.90       534.60   4,514.40     WO   HD      TR
                       outstanding judgments and potential
                       settlements (.4) discuss same with Receiver
                       (.2) finalize motion for approval of two
                       clawback settlements (.3)

 05/27/20   8104290    Review order approving settlements and        Fates, Edward (Ted)    0.20       118.80   4,633.20     WO   HD      TR
                       advise Receiver re: same

 08/14/20   8176664    Communications with Receiver re: order        Fates, Edward (Ted)    0.20       122.40   4,755.60     WO   HD      TR
                       approving transfer of residual class
                       settlement funds to receivership estate

 10/05/20   8225473    Advise Receiver on settlements of             Fates, Edward (Ted)    0.40       244.80   5,000.40     WO   HD      TR
                       remaining clawback claims


 Proforma Summary
 Timekeeper
 Number               Timekeeper                                             Hours                   Rate        Amounts
 001665               Fates, Edward (Ted)                                     7.80                 594.00         4,633.20
 001665               Fates, Edward (Ted)                                     0.60                 612.00           367.20
                                                                              8.40                               $5,000.40
 Subtotal Fees                                                                                                   $5,000.40

                                                                                                                                        Page 15 of 34


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                                                             #:6954
11/13/20 13:01:42 PROFORMA STATEMENT FOR MATTER 374464.00007 (William J. Hoffman, Receiver for NASI) (Third Party Recoveries)


 Proforma Summary
 Timekeeper
 Number                  Timekeeper                                        Hours                Rate           Amounts
 Discount                                                                                                           0.00
 Total Fees                                                                                                     5,000.40
 Total Disbursements                                                                                                0.00

 Attorney Billing Instructions

 (   }   BILL ALL                                  (   }    Hold
 (   }   BILL FEES ONLY                            (   }    Write Off
 (   }   BILL COST ONLY                            (   }    Transfer All

 Billing Instructions
 expires 6/30/2021: 10% OFF STD RATES (AUTOMATIC); NO TEXT EDITING

 Account Summary – As Of 11/13/20

                                   Fiscal YTD              Calendar YTD                                          LTD

                           Total           Fees   Disb.          Total         Fees   Disb.           Total          Fees       Disbursements
     Worked              367.20          367.20   0.00       8,228.70      8,228.70   0.00        5,000.40       5,000.40                0.00
 Unbilled Adj              0.00            0.00   0.00           4.86          4.86   0.00           21.87          21.87                0.00
        Billed         3,223.44        3,223.44   0.00       6,240.96      6,240.96   0.00      156,197.88     156,197.88                0.00
   Collected           3,223.44        3,223.44   0.00       6,240.96      6,240.96   0.00      156,197.88     156,197.88                0.00
 AR Write Off              0.00            0.00   0.00           0.00          0.00   0.00            0.00           0.00                0.00

                          Total           Fees    Costs
         WIP           5,000.40        5,000.40    0.00
     Balance
 AR Balance                0.00            0.00    0.00
     Unalloc               0.00
    Payment
 Client Trust              0.00
     Balance

 Billing Address
 William J. Hoffman, Receiver for NASI
 Trigild Inc


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                                                                                                                       Exhibit A, Page 30
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                                                          #:6955
11/13/20 13:01:42 PROFORMA STATEMENT FOR MATTER 374464.00007 (William J. Hoffman, Receiver for NASI) (Third Party Recoveries)


 9339 Genesse Ave., Suite 130
 San Diego, CA 92121




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                                                           #:6956




}
 11/13/20 13:01:43 PROFORMA STATEMENT FOR MATTER 374464.00009 (William J. Hoffman, Receiver for NASI) (Employment/Fees)


                                                                   Preliminary Billing Form
Billing Atty: 001665 - Fates, Edward      Matter #: 374464.00009                    Client Name: William J. Hoffman, Receiver for NASI
(Ted)
Date of Last Billing: 09/22/20                                                     Matter Name: Employment/Fees
Proforma Number: 1062210
Client/Matter Joint Group # 374464-1

Fees for Matter 374464.00009.(Employment/Fees)

Trans
Date        Index       Description of Service Rendered                Timekeeper                Hours         Fees          Sum              Circle Action
07/30/20    8160928     Revisions to Receiver's 22nd interim fee       Fates, Edward (Ted)        0.70        428.40       428.40        WO    HD     TR
                        application (.6) discuss same with Receiver
                        (.1)

07/31/20    8161941     Meet and confer communications with SEC        Fates, Edward (Ted)         0.10        61.20       489.60        WO   HD      TR
                        counsel re: 21st interim fee applications

08/17/20    8177720     Finalize Receiver 22nd fee application,        Fates, Edward (Ted)         0.20       122.40       612.00        WO   HD      TR
                        notice of hearing, and proposed order

10/06/20    8226253     Advise on preparation of Duffy final fee       Fates, Edward (Ted)         0.30       183.60       795.60        WO   HD      TR
                        application


Proforma Summary
Timekeeper
Number                 Timekeeper                                              Hours                        Rate            Amounts
001665                 Fates, Edward (Ted)                                      1.30                      612.00              795.60
                                                                                1.30                                         $795.60
Subtotal Fees                                                                                                                $795.60
Discount                                                                                                                        0.00
Total Fees                                                                                                                    795.60



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                                                           #:6957
11/13/20 13:01:43 PROFORMA STATEMENT FOR MATTER 374464.00009 (William J. Hoffman, Receiver for NASI) (Employment/Fees)


 Proforma Summary
 Timekeeper
 Number                Timekeeper                                          Hours              Rate           Amounts
 Total Disbursements                                                                                            0.00

 Attorney Billing Instructions

 (   }   BILL ALL                                  (   }    Hold
 (   }   BILL FEES ONLY                            (   }    Write Off
 (   }   BILL COST ONLY                            (   }    Transfer All

 Billing Instructions
 expires 6/30/2021: 10% OFF STD RATES (AUTOMATIC); NO TEXT EDITING

 Account Summary – As Of 11/13/20

                                 Fiscal YTD                Calendar YTD                                        LTD

                         Total             Fees   Disb.          Total         Fees   Disb.         Total          Fees     Disbursements
     Worked            795.60            795.60   0.00       1,508.40      1,508.40   0.00        795.60         795.60              0.00
 Unbilled Adj            0.00              0.00   0.00           0.00          0.00   0.00          0.00           0.00              0.00
        Billed         712.80            712.80   0.00       2,019.60      2,019.60   0.00     20,043.90      20,043.90              0.00
   Collected           712.80            712.80   0.00       2,019.60      2,019.60   0.00     20,043.90      20,043.90              0.00
 AR Write Off            0.00              0.00   0.00           0.00          0.00   0.00          0.00           0.00              0.00

                        Total             Fees    Costs
         WIP           795.60            795.60    0.00
     Balance
 AR Balance              0.00              0.00    0.00
     Unalloc             0.00
    Payment
 Client Trust            0.00
     Balance

 Billing Address
 William J. Hoffman, Receiver for NASI
 Trigild Inc
 9339 Genesse Ave., Suite 130
 San Diego, CA 92121


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